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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NU-YOU TECHNOLOGIES, LLC       §
                               §
    Plaintiff,                 §
                               §
                               §
v.                             §                   CIVIL ACTION NO. 3:15-cv-3433
                               §                   JURY DEMAND
BEAUTY TOWN INTERNATIONAL INC. §
                               §
    Defendant.                 §

                   JOINT STIPULATED MOTION FOR DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(2) and (c), Plaintiff Nu-You Technologies, LLC

(“Nu-You”) and Defendant Beauty Town International Inc. (“Beauty Town”), file this Joint

Stipulated Motion for Dismissal.

       Nu-You hereby dismiss all claims against Beauty Town with prejudice. Beauty Town

hereby dismisses all counterclaims against Nu-You without prejudice as moot.

       Each party to bear its own costs, expenses, and attorneys’ fees.

       A Proposed Order granting the requested relief is filed herewith.




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Respectfully submitted,

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                                                    ATTORNEYS FOR DEFENDANT
                                                    BEAUTY TOWN INTERNATIONAL INC.


                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who consent to electronic service and are being

served with a copy of this document via the Court’s CM/ECF system per Local Rule LR 5.1(d) on

August 24, 2017.

                                                      /s/ Steven N. Williams
                                                          Steven N. Williams




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